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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SHAHRIAR JABBARI, on behalf of himself

and all others similarly situated
No. 4:15-cv-02159 DMR

Plaintiff(s),
APPLICATION FOR ADMISSION OF

Vv. ATTORNEY PRO HAC VICE

WELLS FARGO & COMPANY AND WELLS | (CIVIL LOCAL RULE 11-3)
FARGO BANK,N.A.,

Defendant(s).

 

 

I, Gretchen Freeman Cappio, an active member in good standing of the bar of the State of
Washington, hereby respectfully apply for admission to practice pro hac vice in the Northern District
of California representing: Plaintiff Shahriar Jabbari in the above-entitled action. My local co-
counsel in this case is Matthew J. Preusch, an attorney who is a member of the bar of this Court in
good standing and who maintains an office within the State of California.

 

 

 

MY ADDRESS OF RECORD: LOCAL CO-COUNSEL’S ADDRESS OF RECORD:

1201 Third Avenue, Suite 3200 1129 State Street, Suite 8

Seattle, WA 98101 Santa Barbara, CA 93101

MY TELEPHONE # OF RECORD: LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
(206) 623-1900 805) 456-1496

MY EMAIL ADDRESS OF RECORD: LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD;
gcappio@kellerrohrback.com impreusch@kellerrohrback.com

 

 

I am an active member in good standing of a United States Court or of the highest court of
another State or the District of Columbia, as indicated above; my bar number is: 29576.

A true and correct copy of a certificate of good standing or equivalent official document from
said bar is attached to this application.

I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: May 15,2015 Gretchen Freeman Cappio
APPLICANT

 

 

 

ORDER GRANTING APPLICATION
FOR ADMISSION OF ATTORNEY PRO HAC VICE
IT IS HEREBY ORDERED THAT the application of Gretchen Freeman Cappio is granted,
subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
designated in the application will constitute notice to the party.

 

Dated:

 

UNITED STATES DISTRICT/MAGISTRATE JUDGE

PRO HAC VICE APPLICATION & ORDER

 
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IN THE SUPREME COURT OF THE STATE OF WASHINGTON

IN THE MATTER OF THE ADMISSION BAR NO, 29576
OF | CERTIFICATE
GRETCHEN FREEMAN CAPPIO OF
TO PRACTICE IN THE COURTS OF THIS STATE GOOD STANDING
)

 

I, Ronald R. Carpenter, Clerk of the Supreme Court of the State of Washington, hereby certify

GRETCHEN FREEMAN CAPPIO

was regularly admitted to practice as an Attorney and Counselor at Law in the Supreme Court and all the
Courts of the State of Washington on November 22, 1999, and is now arid has continuously since that date

been an attorney in good standing, and has a current status of active.

IN TESTIMONY WHEREOF, I have
hereunto set my hand and affixed
the seal of said Court this 24" day of

February, 2015, LL

GE Carpenter~
Supreme Court Clerk
Washington State Supreme Court

    
